              IN THE UNITED STATES DISTRICT COURT OF TENNESSEE
                               MIDDLE DISTRICT

 B.W., J.W. and A.B., individually and on           )
 behalf of all others similarly situated,           )
                                                    )
                Plaintiffs,                         )
                                                    )   Case No:
        v.                                          )   Division:
                                                    )
 HCA HEALTHCARE INC.,                               )
     Serve Registered Agent:                        )
     CT Corporation System                          )
     300 Montvue Rd,                                )
     Knoxville, TN 37919                            )
                                                    )
 Defendant.                                         )


                      CLASS ACTION COMPLAINT FOR DAMAGES

       COMES NOW (“Plaintiff”), individually and on behalf of all citizens who are similarly

situated for her Class Action Complaint for Damages against Defendant HCA Healthcare Inc.,

(hereinafter “HCA”); respectfully states and alleges as follows:

                                    NATURE OF THE CASE

       1.      This is a class action brought by Plaintiffs, individually and on behalf of all citizens

who are similarly situated (i.e., the Class Members), seeking to redress Defendant’s willful and

reckless violations of her privacy rights. Plaintiffs and the other Class Members are patients of

HCA who entrusted their Protected Health Information (“PHI”) and Personally Identifiable

Information (“PII”) to HCA. Defendant HCA have shared Plaintiffs’ PHI and PII with persons

who are not authorized to have said PHI and PII. Defendant betrayed Plaintiffs’ trust by failing to

properly safeguard and protect their PHI and PII and publicly disclosing their PHI and PII without

authorization in violation of the law.




   Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 1 of 41 PageID #: 2
       2.      This action pertains to Defendant’s unauthorized disclosure of the Plaintiffs’ PHI

and PII that occurred sometime prior to July 10, 2023 (the “Breach”).

       3.      Defendant disclosed Plaintiffs’ and the other Class Members’ PHI and PII to

unauthorized persons as a direct and/or proximate result of Defendant’s failure to safeguard and

protect their PHI and PII.

       4.      The wrongfully disclosed PHI and PII included, inter alia, Plaintiffs’ and the other

Class Members’ name, address, email addresses, telephone numbers, date of birth, gender,

appointment dates, location and times. It is unknown if additional PHI was accessed and disclosed.

       5.      Defendant flagrantly disregarded Plaintiffs’ and the other Class Members’ privacy

and property rights by intentionally, willfully and recklessly failing to take the necessary

precautions required to safeguard and protect Plaintiffs’ and the other Class Members’ PHI and

PII from unauthorized disclosure. Plaintiffs’ and the other Class Members’ PHI and PII was

improperly handled, inadequately protected, readily able to be copied by anyone with nefarious

intent and not kept in accordance with basic security protocols. Defendant’s obtaining of the

information and sharing of same also represent a flagrant disregard of Plaintiffs’ and the other

Class Members’ rights, both as to privacy and property.

       6.      Plaintiffs and the other Class Members have standing to bring this action because

as a direct and/or proximate result of Defendant’s wrongful actions and/or inaction and the

resulting Breach, Plaintiffs and the other Class Members have incurred (and will continue to incur)

damages in the form of, inter alia, (i) loss of privacy, (ii) loss of medical expenses, and/or (iii) the

additional damages set forth in detail below, which are incorporated herein by reference.

       7.      Defendant’s wrongful actions and/or inaction and the resulting Breach have also

placed Plaintiffs and the other Class Members at an imminent, immediate and continuing increased



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   Case 3:23-cv-00748          Document 1        Filed 07/25/23       Page 2 of 41 PageID #: 3
risk of identity theft, identity fraud and medical fraud. Indeed, Javelin Strategy & Research

(“Javelin”), a leading provider of quantitative and qualitative research, released its 2012 Identity

Fraud Report (“the Javelin Report”), quantifying the impact of data breaches. According to the

Javelin Report, individuals whose PHI and PII is subject to a reported data breach—such as the

Data Breach at issue here—are approximately 9.5 times more likely than the general public to

suffer identity fraud and/or identity theft. Moreover, there is a high likelihood that significant

identity fraud and/or identity theft has not yet been discovered or reported, and a high probability

that criminals who may now possess Plaintiffs’ and the other Class Members’ PHI and PII and not

yet used the information will do so at a later date or re-sell it.

        8.      Plaintiffs and the Class members have also suffered and are entitled to damages

for the lost benefit of their bargain with Defendant HCA. Plaintiffs and members of the Class

paid HCA for its services including the protection of their PHI and PII. The lost benefit of the

bargain is measured by the difference between the value of what Plaintiffs and the members of

the Class should have received when they paid for their services, and the value of what they

actually did receive; services without adequate privacy safeguards. Plaintiffs and members of

the Class have been harmed in that they (1) paid more for privacy and confidentiality than they

otherwise would have, and (2) paid for privacy protections they did not receive. In that respect,

Plaintiffs and the members of the Class have not received the benefit of the bargain and have

suffered an ascertainable loss.

        9.      Additionally, because of Defendant’s conduct, Plaintiffs and members of the

Classes have been harmed in that Defendant has breached its common law fiduciary duty of

confidentiality owed to Plaintiffs and member of the Classes.




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   Case 3:23-cv-00748          Document 1         Filed 07/25/23     Page 3 of 41 PageID #: 4
       10.     Accordingly, Plaintiffs and the other Classes seek redress against Defendant for

breach of implied contract, outrageous conduct, common law negligence, invasion of privacy of

public disclosure of private facts, negligent training and supervision, negligence per se, and

breach of fiduciary duty of confidentiality.

       11.     Plaintiffs, individually and on behalf of the other Classes, seek all (i) actual

damages, economic damages, and/or nominal damages, (ii) injunctive relief, and (iii) attorneys’

fees, litigation expenses, and costs.

                                 JURISDICTION AND VENUE

       12.     The Court has jurisdiction over the parties and the subject matter of this action.

Jurisdiction is proper because Defendant is a business operating in the state of Missouri.

       13.     This Court has diversity jurisdiction over this action under the Class Action

Fairness Act (CAFA), 28 U.S.C. § 1332(d) because this is a class action involving more than 100

class members, the amount in controversy exceeds $5,000,000, exclusive of interest and costs, and

Plaintiffs and members of the Class are citizens of states that differ from Defendant.

       14.     Venue is proper in the Middle District of Tennessee, pursuant to 28 U.S. Code §

1391 because the acts complained of occurred and Defendant are located in the Middle District of

Tennessee.

                                            PARTIES

       15.     Plaintiff B.W. is an adult residing in Jackson County, Missouri.

       16.     Plaintiff J.W. is an adult residing in Jackson County, Missouri.

       17.     Plaintiff A.B. is an adult residing in Charlotte County, Florida.

       18.     Defendant HCA is, upon information and belief, a nationwide company with offices

all throughout the country, providing healthcare services to its patients, with their principal place



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   Case 3:23-cv-00748          Document 1       Filed 07/25/23      Page 4 of 41 PageID #: 5
of business at HCA Healthcare, One Park Plaza, Nashville, TN 37203. HCA Inc. can be served

through their registered agent, CT Corporation System, 300 Montview Rd., Knoxville, TN 37919.

                                       BACKGROUND FACTS

        19.            Certain allegations are made upon information and belief.

        20.            Defendant HCA is a health care provider pursuant to state and federal law,

providing health care and medical services to the general public, operating under common policies

and procedures, throughout the United States with the central location at One Park Plaza,

Nashville, TN 37203.

        21.        As a part of its business operations, Defendant collects and maintains PHI and PII

of its patients.

        22.        Plaintiffs were patients of Defendant and, as a result, provided their PHI and PII to

Defendant.

        23.        Plaintiffs entered into an implied contract with Defendant for the adequate

protection of their PHI and PII.

        24.        Defendant is required to maintain the strictest privacy and confidentiality of

Plaintiffs and the proposed Classes’ medical records and other PHI and PII.

        25.        Defendant      HCA        posts        its   privacy      practices   online,      at

https://www.HCA.com/privacy/.

        26.        On or about July 5, 2023, HCA learned about the disclosure of patient information

from a posting online.

        27.        The disclosure of the PHI and PII at issue was a result of the Defendant’s inadequate

safety and security protocols governing PHI and PII.




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    Case 3:23-cv-00748            Document 1         Filed 07/25/23       Page 5 of 41 PageID #: 6
          28.    The wrongfully disclosed PHI and PII included, inter alia, Plaintiffs’ and the other

    Class Members’ name, addresses, emails, telephone numbers, date of birth, gender and patient

    service information such as date and location of their next medical appointment.

          29.    Upon information and belief, the Breach affected at least 11 million patients of

Defendant.

          30.    As a direct and/or proximate result of Defendant’s failure to properly safeguard and

protect the PHI and PII of its patients, Plaintiffs’ and the other Class Members’ PHI and PII was

stolen, compromised and wrongfully disseminated without authorization.

          31.    Defendant has a duty to their patients to protect them from wrongful disclosures.

          32.    As a business offering health care provider services, Defendant are required to train

and supervise their employees regarding the policies and procedures as well as the State and

Federal laws for safeguarding patient information.

          33.    Defendant is a covered entity pursuant to the Health Insurance Portability and

Accountability Act (“HIPAA”). See 45 C.F.R. § 160.102. Defendant must therefore comply with

the HIPAA Privacy Rule and Security Rule. See 45 C.F.R. Part 160 and Part 164, Subparts A

through E.

          34.    Defendant is a covered entity pursuant to the Health Information Technology Act

(“HITECH”).1 See 42 U.S.C. §17921, 45 C.F.R. § 160.103.

          35.    The HIPAA and HITECH rules work in conjunction with the already established

State laws. HIPAA and HITECH do not recognize an individual right of claim for violation but

provide the guidelines for the standard of procedure dictating how patient medical information

should be kept private.


1
 HIPAA and HITECH work in tandem to provide guidelines and rules for maintaining protected health information.
HITECH references and incorporates HIPAA.

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      Case 3:23-cv-00748         Document 1         Filed 07/25/23        Page 6 of 41 PageID #: 7
       36.     The HIPAA and HITECH rules work in conjunction with the already established

State laws. HIPAA and HITECH do not recognize an individual right of claim for violation but

provide the guidelines for the standard of procedure dictating how patient medical information

should be kept private.

       37.     HIPAA’s Privacy Rule, otherwise known as “Standards for Privacy of Individually

Identifiable Health Information,” establishes national standards for the protection of health

information.

       38.     HIPAA’s Security Rule, otherwise known as “Security Standards for the Protection

of Electronic Protected Health Information,” establishes national security standards for the

protection of health information that is held or transferred in electronic form. See 42 C.F.R. §§

164.302-164.318.

       39.     HIPAA limits the permissible uses of “protected health information” and prohibits

the unauthorized disclosure of “protected health information.” 45 C.F.R. § 164.502. HIPAA

requires that covered entities implement appropriate administrative, technical, and physical

safeguards for this information and requires that covered entities reasonably safeguard protected

health information from any intentional or unintentional use or disclosure that is in violation of the

standards, implementation specifications or other requirements of this subpart. See 45 C.F.R. §

164.530(c).

       40.     HIPAA requires a covered entity to have and apply appropriate sanctions against

members of its workforce who fail to comply with the privacy policies and procedures of the

covered entity or the requirements of 45 C.F.R. Part 164, Subparts D or E. See 45 C.F.R. §

164.530(e).




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   Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 7 of 41 PageID #: 8
           41.     HIPAA requires a covered entity to mitigate, to the extent practicable, any harmful

effect that is known to the covered entity of a use or disclosure of protected health information in

violation of its policies and procedures or the requirements of 45 C.F.R. Part 164, Subpart E by

the covered entity or its business associate. See 45 C.F.R. § 164.530(f).

           42.     Under HIPAA:

                     Protected health information means individually identifiable health information:

                     (1) Except as provided in paragraph (2) of this definition, that is:

                     (i) Transmitted by electronic media;

                     (ii) Maintained in electronic media; or

                     (iii) Transmitted or maintained in any other form or medium.2

           43.     HIPAA and HITECH obligated Defendant to implement technical policies and

procedures for electronic information systems that maintain electronic protected health

information so that such systems were accessible only to those persons or software programs that

had been granted access rights and who have a working need to access and view the information.

See 45 C.F.R. § 164.312(a)(1); see also 42 U.S.C. §17902.

           44.     HIPAA and HITECH also obligated Defendant to implement policies and

procedures to prevent, detect, contain, and correct security violations, and to protect against uses

or disclosures of electronic protected health information that are reasonably anticipated but not

permitted by the privacy rules. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); see also 42

U.S.C. §17902.

           45.     HIPAA further obligated Defendant to ensure that its workforce complied with

HIPAA security standard rules (see 45 C.F.R. § 164.306(a)(4)) to effectively train its workforces



2
    45 C.F.R. § 160.103

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      Case 3:23-cv-00748          Document 1        Filed 07/25/23      Page 8 of 41 PageID #: 9
on the policies and procedures with respect to protected health information, as necessary and

appropriate for those individuals to carry out their functions and maintain the security of protected

health information. See 45 C.F.R. § 164.530(b)(1).

           46.      HIPAA also requires the Office of Civil Rights (“OCR”), within the Department of

Health and Human Services (“HHS”), to issue annual guidance documents on the provisions in

the HIPAA Security Rule. See 45 C.F.R. §§ 164.302-164.318. For example, “HHS has developed

guidance and tools to assist HIPAA covered entities in identifying and implementing the most cost

effective and appropriate administrative, physical, and technical safeguards to protect the

confidentiality, integrity, and availability of e-PHI and comply with the risk analysis requirements

of the Security Rule.” See US Department of Health & Human Services, Security Rule Guidance

Material.3 The list of resources includes a link to guidelines set by the National Institute of

Standards and Technology (NIST), which OCR says “represents the industry standard for good

business practices with respect to standards for securing e-PHI.” See US Department of Health &

Human Services, Guidance on Risk Analysis.4

           47.      Should a health care provider experience an unauthorized disclosure, it is required

to conduct a Four Factor Risk Assessment (HIPAA Omnibus Rule). This standard requires, “A

covered entity or business associate must now undertake a four-factor risk assessment to determine

whether or not PHI has been compromised and overcome the presumption that the breach must be

reported. The four-factor risk assessment focuses on:

                         (1) the nature and extent of the PHI involved in the incident (e.g., whether the

                         incident involved sensitive information like social security numbers or

                         infectious disease test results);


3
    http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html
4
    https://www.hhs.gov/hipaa/for-professionals/security/guidance/guidance-risk-analysis/index.html

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      Case 3:23-cv-00748            Document 1          Filed 07/25/23        Page 9 of 41 PageID #: 10
                       (2) the recipient of the PHI;

                       (3) whether the PHI was actually acquired or viewed; and

                       (4) the extent to which the risk that the PHI was compromised has been

                       mitigated following unauthorized disclosure (e.g., whether it was immediately

                       sequestered and destroyed).”5

        48.      The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, requires HIPAA

covered entities and their business associates to provide notification following a breach of

unsecured protected health information.

        49.      The HIPAA Contingency Operations Rule, 45 C.F.R. §164.301(a), requires a

healthcare provider to have security measures in place and train its employees and staff so that all

its staff and employees know their rolls in facility security.

        50.      Defendant failed to provide proper notice to Plaintiffs of the disclosure.

        51.      Defendant failed to conduct or improperly conducted the four-factor risk

assessment following the unauthorized disclosure.

        52.      As a direct and/or proximate result of Defendant’s wrongful actions and/or inaction

and the resulting Breach, the criminal(s) and/or their customers now have Plaintiffs’ and the other

Class Members’ compromised PHI and PII.

        53.      There is a robust international market for the purloined PHI and PII, specifically

medical information. Defendant’s wrongful actions and/or inaction and the resulting Breach have

also placed Plaintiffs and the other Classes at an imminent, immediate and continuing increased

risk of identity theft, identity fraud6 and medical fraud.


5
  78 Fed. Reg. 5641-46, See also, 45 C.F.R. §164.304
6
  According to the United States Government Accounting Office (GAO), the terms “identity theft” or “identity fraud”
are broad terms encompassing various types of criminal activities. Identity theft occurs when PII is used to commit
fraud or other crimes. These crimes include, inter alia, credit card fraud, phone or utilities fraud, bank fraud and

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    Case 3:23-cv-00748           Document 1          Filed 07/25/23         Page 10 of 41 PageID #: 11
        54.      Identity theft occurs when someone uses an individual’s PHI and PII, such as the

person’s name, Social Security number, or credit card number, without the individual’s

permission, to commit fraud or other crimes. See Federal Trade Commission, Fighting Back

against Identity Theft, http://www.ftc.gov/bcp/edu/microsites/idtheft/consumers/ about-identity-

theft.html (last visited Jan. 18, 2013). The Federal Trade Commission estimates that the identities

of as many as nine million Americans are stolen each year. See id.

        55.      The Federal Trade Commission correctly sets forth that “Identity theft is serious.

While some identity theft victims can resolve their problems quickly, others spend hundreds of

dollars and many days repairing damage to their good name and credit record. Some consumers

victimized by identity theft may lose out on job opportunities, or be denied loans for education,

housing or cars because of negative information on their credit reports. In rare cases, they may

even be arrested for crimes they did not commit.” Id.

        56.      Identity theft crimes often involve more than just crimes of financial loss, such as

various types of government fraud (such as obtaining a driver’s license or official identification

card in the victim’s name but with their picture), using a victim’s name and Social Security number

to obtain government benefits and/or filing a fraudulent tax return using a victim’s information.

Identity thieves also obtain jobs using stolen Social Security numbers, rent houses and apartments

and/or obtain medical services in a victim’s name. Identity thieves also have been known to give

a victim’s PHI and PII to police during an arrest, resulting in the issuance of an arrest warrant in

the victim’s name and an unwarranted criminal record.

        57.      According to the FTC, “the range of privacy-related harms is more expansive than

economic or physical harm or unwarranted intrusions and that any privacy framework should



government fraud (theft of government services).

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  Case 3:23-cv-00748            Document 1         Filed 07/25/23   Page 11 of 41 PageID #: 12
recognize additional harms that might arise from unanticipated uses of data.”7 Furthermore, “there

is significant evidence demonstrating that technological advances and the ability to combine

disparate pieces of data can lead to identification of a consumer, computer or device even if the

individual pieces of data do not constitute PII.”8

        58.     According to the Javelin Report, in 2011, the mean consumer cost of rectifying

identity fraud was $354 while the mean resolution time of identity fraud was 12 hours. See id. at

6. In 2011, the consumer cost for new account fraud and existing non‐card fraud increased 33%

and 50% respectively. See id. at 9. Consumers who received a data breach notification had a fraud

incidence rate of 19% in 2011 and, of those experiencing fraud, 43% reported their credit card

numbers were stolen and 22% of the victims reported their debit card numbers were stolen. See

id. at 10. More important, consumers who were notified that their PHI and PII had been breached

were 9.5 times more likely to experience identity fraud than consumers who did not receive such

a notification. See id. at 39.

        59.     The unauthorized disclosure of a person’s Social Security number can be

particularly damaging since Social Security numbers cannot be easily replaced like a credit card

or debit card. In order to obtain a new Social Security number, a person must show evidence that

someone is using the number fraudulently or is being disadvantaged by the misuse. See Identity

Theft and Your Social Security Number, SSA Publication No. 05-10064, October 2007, ICN

46327 (http://www.ssa.gov/pubs/10064.html). Thus, a person whose PHI and/or PII has been

stolen cannot obtain a new Social Security number until the damage has already been done.


7
    Protecting Consumer Privacy in an Era of Rapid Change FTC, Report March 2012
(http://www.ftc.gov/os/2012/03/120326privacyreport.pdf).
8
  Protecting Consumer Privacy in an Era of Rapid Change: A Proposed Framework for Businesses and Policymakers,
Preliminary        FTC        Staff         Report,       35-38     (Dec.      2010),        available      at
http://www.ftc.gov/os/2010/12/101201privacyreport.pdf; Comment of Center for Democracy & Technology, cmt.
#00469, at 3; Comment of Statz, Inc., cmt. #00377, at 11-12.


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    Case 3:23-cv-00748           Document 1       Filed 07/25/23        Page 12 of 41 PageID #: 13
        60.     Obtaining a new Social Security number also is not an absolute prevention against

identity theft. Government agencies, private businesses and credit reporting companies likely still

have the person’s records under the old number, so using a new number will not guarantee a fresh

start. For some victims of identity theft, a new number may actually create new problems; because

prior positive credit information is not associated with the new Social Security number, it is more

difficult to obtain credit due to the absence of a credit history.

        61.     Medical fraud (or medical identity theft) occurs when a person’s personal

information is used without authorization to obtain, or receive payment for, medical treatment,

services or goods. See www.ftc.gov/bcp/edu/microsites/idtheft/consumers/resolving-specific-id-

theft-problems.html. For example, as of 2010, more than 50 million people in the United States

did not have health insurance according to the U.S. census. This, in turn, has led to a surge in

medical identity theft as a means of fraudulently obtaining medical care. “Victims of medical

identity theft [also] may find that their medical records are inaccurate, which can have a serious

impact on their ability to obtain proper medical care and insurance benefits.” Id.

        62.     Defendant flagrantly disregarded and/or violated Plaintiffs’ and the other Class

Members’ privacy and property rights, and harmed them in the process, by not obtaining Plaintiffs’

and the other Class Members’ prior written consent to disclose their PHI and PII to any other

person—as required by laws, regulations, industry standards and/or internal company standards.

        63.     Defendant flagrantly disregarded and/or violated Plaintiffs’ and the other Class

Members’ privacy and property rights, and harmed them in the process, by failing to safeguard

and protect and, in fact, wrongfully disseminating Plaintiffs’ and the other Class Members’ PHI

and PII to unauthorized persons.




                                                  13

  Case 3:23-cv-00748          Document 1        Filed 07/25/23       Page 13 of 41 PageID #: 14
       64.     Upon information and belief, Defendant flagrantly disregarded and/or violated

Plaintiffs’ and the other Class Members’ privacy and property rights, and harmed them in the

process, by failing to keep or maintain an accurate accounting of the PHI and PII wrongfully

disclosed in the Breach.

       65.     Defendant flagrantly disregarded and/or violated Plaintiffs’ and the other Class

Members’ privacy rights, and harmed them in the process, by failing to establish and/or implement

appropriate administrative, technical and/or physical safeguards to ensure the security and

confidentiality of Plaintiffs’ and the other Class Members’ PHI and PII to protect against

anticipated threats to the security or integrity of such information. Defendant’s unwillingness or

inability to establish and maintain the proper information security procedures and controls is an

abuse of discretion and confirms its intentional and willful failure to observe procedures required

by law, industry standards and/or their own internal policies and procedures.

       66.     The actual harm and adverse effects to Plaintiffs and the other Class Members,

including the imminent, immediate and continuing increased risk of harm for identity theft, identity

fraud and/or medical fraud directly and/or proximately caused by Defendant’s above wrongful

actions and/or inaction and the resulting Breach requires Plaintiffs and the other Class Members

to take affirmative acts to recover their peace of mind, and personal security including, without

limitation, purchasing credit reporting services, purchasing credit monitoring and/or internet

monitoring services, frequently obtaining, purchasing and reviewing credit reports, bank

statements, and other similar information, instituting and/or removing credit freezes and/or closing

or modifying financial accounts—for which there is a financial and temporal cost. Plaintiffs and

the other Class Members have suffered, and will continue to suffer, such damages for the

foreseeable future.



                                                14

  Case 3:23-cv-00748        Document 1        Filed 07/25/23      Page 14 of 41 PageID #: 15
        67.       Victims and potential victims of identity theft, identity fraud and/or medical

fraud—such as Plaintiffs and the other Class Members—typically spend hundreds of hours in

personal time and hundreds of dollars in personal funds to resolve credit and other financial issues

resulting       from   data   breaches.      See        Defend:   Recover   from   Identity   Theft,

http://www.ftc.gov/bcp/edu/microsites/idtheft//consumers/defend.html; Fight Identity Theft,

www.fightidentitytheft.com. According to the Javelin Report, not only is there a substantially

increased risk of identity theft and identity fraud for data breach victims, those who are further

victimized by identity theft or identity fraud will incur an average fraud-related economic loss of

$1,513 and incur an average of $354 of out-of-pocket expenses attempting to rectify the situation.

See id. at 6.

        68.       Other statistical analyses are in accord. The GAO found that identity thieves use

PHI and PII to open financial accounts and payment card accounts and incur charges in a victim’s

name. This type of identity theft is the “most damaging” because it may take some time for the

victim to become aware of the theft, in the meantime causing significant harm to the victim’s credit

rating and finances. Moreover, unlike other PHI and PII, Social Security numbers are incredibly

difficult to change and their misuse can continue for years into the future. The GAO states that

victims of identity theft face “substantial costs and inconvenience repairing damage to their credit

records,” as well the damage to their “good name.”

        69.       Defendant’s wrongful actions and/or inaction directly and/or proximately caused

the theft and dissemination into the public domain of Plaintiffs’ and the other Class Members’ PHI

and PII without their knowledge, authorization and/or consent. As a direct and/or proximate result

of Defendant’s wrongful actions and/or inaction and the resulting Breach, Plaintiffs and the other

Class Members have incurred (and will continue to incur) damages in the form of, inter alia, (i)



                                                   15

  Case 3:23-cv-00748          Document 1       Filed 07/25/23       Page 15 of 41 PageID #: 16
loss of privacy, (ii) the imminent, immediate and continuing increased risk of identity theft,

identity fraud and/or medical fraud, (iii) out-of-pocket expenses to purchase credit monitoring,

internet monitoring, identity theft insurance and/or other Breach risk mitigation products, (iv) out-

of-pocket expenses incurred to mitigate the increased risk of identity theft, identity fraud and/or

medical fraud pressed upon them by the Breach, including the costs of placing a credit freeze and

subsequently removing a credit freeze, (v) the value of their time spent mitigating the increased

risk of identity theft, identity fraud and/or medical fraud pressed upon them by the Breach and (vi)

the lost benefit of their bargain when they paid for their privacy to be protected and it was not.

                               CLASS ACTION ALLEGATIONS

       70.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs brings this

class action as a class action on behalf of herself and the following classes:

       All persons residing in the United States who were patients of Defendant HCA
       since July 1, 2013 and whose PHI and/or PII was disclosed by Defendant to
       unauthorized third-parties.

       All persons residing in the United States who were residents of Missouri
       who were patients of Defendant HCA since July 1, 2013 and whose PHI
       and/or PII was disclosed by Defendant to unauthorized third-parties (the
       “Missouri Class”).
       All persons residing in the United States who were residents of Florida who
       were patients of Defendant HCA since July 1, 2013 and whose PHI and/or
       PII was disclosed by Defendant to unauthorized third-parties (the “Florida
       Class”).

       71.     Excluded from the Classes are the following individuals and/or entities:

Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity

in which Defendant has a controlling interest; all individuals who make a timely election to be

excluded from this proceeding using the correct protocol for opting out; and all judges assigned

to hear any aspect of this litigation, as well as their immediate family members.



                                                 16

  Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 16 of 41 PageID #: 17
       72.     Numerosity: On information and belief, the putative Classes are comprised of tens

of thousands of individuals making joinder impracticable. Disposition of this matter as a class

action will provide substantial benefits and efficiencies to the Parties and the Court.

       73.     Commonality and Predominance: The rights of Plaintiffs and each other Class

Members were violated in a virtually identical manner as a direct and/or proximate result of

Defendant’s ‘willful, reckless and/or negligent actions and/or inaction and the resulting Breach.

Questions of law and fact common to all Class Members exist and predominate over any questions

affecting only individual Class Members including, inter alia:


               a)      Whether Defendant willfully, recklessly and/or negligently failed to
                       maintain and/or execute reasonable procedures designed to prevent
                       unauthorized access to Plaintiffs’ and the other Class Members’ PHI
                       and/or PII;

               b)      Whether Defendant was negligent in failing to properly safeguard
                       and protect Plaintiffs’ and the other Class Members’ PHI and/or PII;

               c)      Whether Defendant owed a duty to Plaintiffs and the other Class
                       Members to exercise reasonable care in safeguarding and protecting
                       their PHI and/or PII;

               d)      Whether Defendant breached their duty to exercise reasonable care
                       in failing to safeguard and protect Plaintiffs’ and the other Class
                       Members’ PHI and/or PII;

               e)      Whether Defendant was negligent in failing to safeguard and protect
                       Plaintiffs’ and the other Class Members’ PHI and/or PII;

               f)      Whether, by publicly disclosing Plaintiffs’ and the other Class
                       Members’ PHI and/or PII without authorization, Defendant invaded
                       their privacy; and

               g)      Whether Plaintiffs and the other Class Members sustained damages
                       as a result of Defendant’s failure to safeguard and protect their PHI
                       and/or PII.




                                                 17

  Case 3:23-cv-00748         Document 1       Filed 07/25/23       Page 17 of 41 PageID #: 18
        74.     Adequacy: Plaintiffs and their counsel will fairly and adequately represent the

interests of the other Class Members. Plaintiffs have no interests antagonistic to, or in conflict

with, the other Class Members’ interests. Plaintiffs’ lawyers are highly experienced in the

prosecution of consumer class action and data breach cases.

        75.     Typicality: Plaintiffs’ claims are typical of the other Class Members’ claims in that

Plaintiffs’ claims and the other Class Members’ claims all arise from Defendant’s failure to

properly safeguard and protect their PHI and PII.

        76.     Superiority and Manageability: A class action is superior to all other available

methods for fairly and efficiently adjudicating Plaintiffs’ and the other Class Members’ claims.

Plaintiffs and the other Class Members have been harmed as a result of Defendant’s wrongful

actions and/or inaction and the resulting Breach. Litigating this case as a class action will reduce

the possibility of repetitious litigation relating to Defendant’s conduct.

        77.     Class certification, therefore, is appropriate pursuant to Federal Rule of Civil

Procedure 23 because the above common questions of law or fact predominate over any questions

affecting individual Class Members, and a class action is superior to other available methods for the

fair and efficient adjudication of this controversy.

        78.     Policies Generally Applicable to the Case: Class certification also is appropriate

pursuant to Federal Rule of Civil Procedure 23 because Defendant has acted or refused to act on

grounds generally applicable to the Class, so that final injunctive relief or corresponding

declaratory relief is appropriate as to the Class as a whole.

        79.     The expense and burden of litigation would substantially impair the ability of Class

Members to pursue individual lawsuits in order to vindicate their rights. Absent a class action,

Defendant will retain the benefits of its wrongdoing despite its serious violations of the law.



                                                   18

  Case 3:23-cv-00748          Document 1        Filed 07/25/23      Page 18 of 41 PageID #: 19
       80.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of

Class Members demonstrate that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       81.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       82.     Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the Private Information of Class Members, Defendant may continue to refuse to

provide proper notification to Class Members regarding the Data Breach, and Defendant may

continue to act unlawfully as set forth in this Complaint.

                                       COUNT I
                             BREACH OF IMPLIED CONTRACT

       83.     The preceding factual statements and allegations are incorporated herein by

reference.

       84.     Plaintiffs and the other Class Members, as part of their agreement with Defendant

HCA, provided Defendant their PHI and PII.

       85.     In providing such PHI and PII, Plaintiffs and the other Class Members entered into

an implied contract with Defendant HCA, whereby Defendant became obligated to reasonably

safeguard Plaintiffs’ and the other Class members’ PHI and PII.

       86.     Under the implied contract, Defendant was obligated to not only safeguard the PHI

and PII, but also to provide Plaintiffs and Class Members with prompt, adequate notice of any

Data Breach or unauthorized access of said information.

       87.     Defendant breached the implied contract with Plaintiffs and the other Class

Members by failing to take reasonable measures to safeguard their PHI and PII.

                                                 19

  Case 3:23-cv-00748         Document 1       Filed 07/25/23      Page 19 of 41 PageID #: 20
       88.     As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the other Class Members’ confidential medical information,

Plaintiffs and the members of the Class suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

       89.     Plaintiffs and the other Class Members suffered and will continue to suffer damages

including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

(vii) emotional distress. At the very least, Plaintiffs and Class members are entitled to nominal

damages.

                                             COUNT II
                                           NEGLIGENCE

       90.     The preceding factual statements and allegations are incorporated herein by

reference.

       91.     Plaintiffs bring this Count on their own behalf and on behalf of the Class and the

State Subclasses (the “Classes” for the purposes of this Count).

       92.     Defendant owed, and continues to owe, a duty to Plaintiffs and the Classes to

safeguard and protect their PHI and PII.

       93.     Defendant breached their duty by failing to exercise reasonable care and failing to

safeguard and protect Plaintiffs’ and the other Class Members’ PHI and PII.




                                                  20

  Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 20 of 41 PageID #: 21
        94.      It was reasonably foreseeable that Defendant’s failure to exercise reasonable care

in safeguarding and protecting Plaintiffs’ and the other Class Members’ PHI and PII would result

in an unauthorized third-party gaining access to such information for no lawful purpose.

        95.      Plaintiffs and the Classes entrusted their PII and PHI to Defendant on the

premise and with the understanding that Defendant would safeguard their information, use their

PII and PHI for business purposes only, and/or not disclose their PII and PHI to unauthorized

third-parties.

        96.      Defendant has full knowledge of the sensitivity of the PII and PHI and the types of

harm that Plaintiffs and the Classes could and would suffer if the PII and PHI were wrongfully

disclosed.

        97.      Defendant knew or reasonably should have known that the failure to exercise due

care in the collecting, storing, and using of the PII and PHI of Plaintiffs and the Classes involved an

unreasonable risk of harm to Plaintiffs and the Classes, even if the harm occurred through the

criminal acts of a third-party.

        98.      Defendant had a duty to exercise reasonable care in safeguarding, securing, and

protecting such information from being compromised, lost, stolen, misused, and/or disclosed

to unauthorized parties. This duty includes, among other things, designing, maintaining, and

testing Defendant’s security protocols to ensure that the PII and PHI of Plaintiffs and the Classes

in Defendant’s possession was adequately secured and protected.

        99.      Defendant also had a duty to exercise appropriate clearinghouse practices to

remove former patients’, employees’, and physicians’ PII and PHI that Defendant was no longer

required to retain pursuant to regulations.




                                                  21

  Case 3:23-cv-00748          Document 1       Filed 07/25/23       Page 21 of 41 PageID #: 22
        100.   Defendant also had a duty to have procedures in place to detect and prevent the

improper access and misuse of the PII and PHI of Plaintiffs and the Classes.

        101.   Defendant’s duty to use reasonable security measures arose as a result of the

contractual relationship that existed between Defendant and Plaintiffs and the Classes.

        102.   Defendant was also subject to an “independent duty,” untethered to any contract

between Defendant and Plaintiffs or the Classes.

        103.   A breach of security, unauthorized access, and resulting injury to Plaintiffs and the

Classes was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

        104.   Plaintiffs and the Classes were the foreseeable and probable victims of any

inadequate security practices and procedures. Defendant knew or should have known of the

inherent risks in collecting and storing the PII and PHI of Plaintiffs and the Class, the critical

importance of providing adequate security of that information, and the necessity for encrypting or

redacting PII and PHI stored on Defendant’s systems.

        105.   Defendant’s own conduct created a foreseeable risk of harm to Plaintiffs and the

Classes.

        106.   Defendant’s misconduct included, but was not limited to, its failure to take the steps

and opportunities to prevent the Data Breach as set forth herein. Defendant’s misconduct also

included its decisions to not comply with industry standards for the safekeeping of the PII and

PHI of Plaintiffs and the Classes, including basic encryption techniques freely available to

Defendant.

        107.   Plaintiffs and the Classes had no ability to protect their PII and PHI that was

in, and possibly remains in, Defendant’s possession.



                                                22

  Case 3:23-cv-00748        Document 1        Filed 07/25/23      Page 22 of 41 PageID #: 23
         108.   Defendant were in a position to protect against the harm suffered by Plaintiffs and

the Classes as a result of the Data Breach. Defendant had and continue to have a duty to adequately

disclose that the PII and PHI of Plaintiffs and the Classes within Defendant’s possession might

have been compromised, how it was compromised, and precisely the types of data that were

compromised and when. Such notice was necessary to allow Plaintiffs and the Classes to take

steps to prevent, mitigate, and repair any identity theft and the fraudulent use of their PII and PHI

by third-parties.

         109.   Defendant had     a duty     to employ proper procedures           to   prevent   the

unauthorized dissemination of the PII and PHI of Plaintiffs and the Classes.

         110.   Defendant has admitted that the PII and PHI of Plaintiffs and the Classes was

wrongfully lost and disclosed to unauthorized third-persons as a result of the Data Breach.

         111.   Defendant, through its actions and/or omissions, unlawfully breached its

duties to Plaintiffs and the Classes by failing to implement industry standard protocols and

exercise reasonable care in protecting and safeguarding the PII and PHI of Plaintiffs and the

Classes during the time the PII and PHI was within Defendant’s possession or control.

         112.   Defendant improperly and inadequately safeguarded the PII and PHI of Plaintiffs

and the Classes in deviation of standard industry rules, regulations, and practices at the time of the

Data Breach.

         113.   Defendant failed to heed industry warnings and alerts to provide adequate

safeguards to protect the PII and PHI of Plaintiffs and the Classes in the face of increased risk of

theft.




                                                 23

  Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 23 of 41 PageID #: 24
       114.    Defendant, through its actions and/or omissions, unlawfully breached its duty to

Plaintiffs and the Classes by failing to have appropriate procedures in place to detect and prevent

dissemination of its current and former patients’, employees’, and physicians’ PII and PHI.

       115.    Defendant, through its actions and/or omissions, unlawfully breached its duty

to adequately and timely disclose to Plaintiffs and the Classes the existence and scope of the Data

Breach.

       116.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the member of the Classes confidential medical information,

Plaintiffs and the members of the Classes suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

       117.    Plaintiffs and the other Classes suffered and will continue to suffer damages

including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

(vii) emotional distress. At the very least, Plaintiffs and the other Classes are entitled to nominal

damages.

       118.    Defendant’s wrongful actions and/or inaction and the resulting Breach (as

described above) constituted (and continue to constitute) negligence at common law. Additionally,

Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,” including,

as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as Defendant,



                                                  24

  Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 24 of 41 PageID #: 25
of failing to use reasonable measures to protect PII. The FTC publications and orders described

above also form part of the basis of Defendant’s duty in this regard. Defendant violated Section 5

of the FTC Act by failing to use reasonable measures to protect PII and not complying with

applicable industry standards, as described in detail herein.

        119.    Defendant’s conduct was particularly unreasonable given the nature and amount of

PII they obtained and stored and the foreseeable consequences of the immense damages that would

result to Plaintiffs and the Classes.

        120.    Defendant’s violation of Section 5 of the FTC Act and Title II of HIPAA,

including HIPAA regulations HHS has implemented pursuant to Title II, as well as the

standards of conduct established by these statutes and regulations, constitutes negligence per se.

        121.    Plaintiffs and the Classes are within the class of persons that the FTC Act was

intended to protect.

        122.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

Act and HIPAA were intended to guard against. The FTC has pursued enforcement actions

against businesses, which, as a result of its failure to employ reasonable data security measures

and avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiffs and

the Classes.

        123.    As a direct and proximate result of D e f e n d a n t ’ s negligence and negligence

per se, Plaintiffs and the Classes have suffered and will suffer injury, including but not limited

to:

               a) actual identity theft;

               b) the loss of the opportunity of how their PII and PHI is used;

               c) the compromise, publication, and/or theft of their PII and PHI;



                                                 25

  Case 3:23-cv-00748          Document 1       Filed 07/25/23     Page 25 of 41 PageID #: 26
              d) out-of-pocket expenses associated with the prevention, detection, and recovery

                 from identity theft, tax fraud, and/or unauthorized use of their PII and PHI;

              e) lost opportunity costs associated with effort expended and the loss of

                 productivity addressing and attempting to mitigate the actual present and future

                 consequences of the Data Breach, including but not limited to efforts spent

                 researching how to prevent, detect, contest, and recover from tax fraud and identity

                 theft;

              f) costs associated with placing freezes on credit reports; (vii) the continued risk to

                 their PII and PHI, which remain in Defendant’s possession and is subject to

                 further unauthorized disclosures so long as Defendant fails to undertake

                 appropriate and adequate measures to protect the PII and PHI of Plaintiffs and the

                 Classes; and

              g) costs in terms of time, effort, and money that will be expended to prevent,

                 detect, contest, and repair the impact of the PII and PHI compromised as a result

                 of the Data Breach for the remainder of the lives of Plaintiffs and the Classes.

       124.          As a direct and proximate result of Defendant’s negligence and negligence

per se, Plaintiffs and the Classes have suffered and will continue to suffer other forms of injury

and/or harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other

economic and non-economic losses.

       125.          Additionally, as a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiffs and the Classes have suffered and will suffer the continued risks of

exposure of their PII and PHI, which remain in Defendant’s possession and is subject to further




                                                 26

  Case 3:23-cv-00748         Document 1        Filed 07/25/23     Page 26 of 41 PageID #: 27
unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PII and PHI in its continued possession.

       126.          Plaintiffs and the Classe s are therefore entitled to damages, including

actual and compensatory damages, restitution, declaratory and injunctive relief, and attorney

fees, costs, and expenses.

                               COUNT III
      INVASION OF PRIVACY BY PUBLIC DISCLOSURE OF PRIVATE FACTS

       127.     The preceding factual statements and allegations are incorporated herein by

reference.

       128.     Plaintiffs’ and the other Classes’ PHI and PII was (and continues to be) sensitive

and personal private information.

       129.     By virtue of Defendant’s failure to safeguard and protect Plaintiffs’ and the other

Classes’ PHI and PII and the resulting Breach, Defendant wrongfully disseminated Plaintiffs’ and

the other Class Members’ PHI and PII to unauthorized persons.

       130.     Dissemination of Plaintiffs’ and the other Classes’ PHI and PII is not of a legitimate

public concern; publicity of their PHI and PII was, is and will continue to be offensive to Plaintiffs,

the other Class Members and all reasonable people. The unlawful disclosure of same violates

public mores.

       131.     As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the member of the Classes confidential medical information,

Plaintiffs and the members of the Classes suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation, and loss of enjoyment of life.




                                                  27

  Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 27 of 41 PageID #: 28
       132.    Plaintiffs and the other Classes’ members suffered and will continue to suffer

damages including, but not limited to: (i) the untimely and/or inadequate notification of the

Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity

theft; and, (vii) emotional distress. At the very least, Plaintiffs and the other Classes’ Members

are entitled to nominal damages.

       133.    Defendant’s wrongful actions and/or inaction and the resulting Breach (as

described above) constituted (and continue to constitute) an invasion of Plaintiffs’ and the other

Classes’ Members’ privacy by publicly and wrongfully disclosing their private facts (i.e., their

PHI and PII) without their authorization or consent.

                                 COUNT IV
                BREACH OF FIDUCIARY DUTY OF CONFIDENTIALITY

      134.     The preceding factual statements and allegations are incorporated herein by

reference.

      135.     At all times relevant hereto, Defendant owed, and owes, a fiduciary duty to

Plaintiffs and the proposed class pursuant to Tennessee common law, to keep Plaintiffs’ medical

and other PHI and PII information confidential.

       136.    The fiduciary duty of privacy imposed by Tennessee common law is explicated

under the procedures set forth in the Health Insurance Portability and Accountability Act Privacy

Rule, including, without limitation the procedures and definitions of 45 C.F.R. §160.103 and 45

C.F.R. §164.530 which requires a covered entity, health care provider, to apply appropriate

administrative, technical, and physical safeguards to protect the privacy of patient medical records.

                                                 28

  Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 28 of 41 PageID #: 29
       137.    Defendant breached their fiduciary duty to Plaintiffs by disclosing Plaintiffs and

the other Classes’ Members PHI and PII to unauthorized third-parties.

       138.    As a direct result of Defendant’s breach of fiduciary duty of confidentiality and the

disclosure of Plaintiffs’ confidential medical information, Plaintiffs and the proposed Classes’

Members suffered damages.

       139.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the member of the Classes confidential medical information,

Plaintiffs and the members of the Classes suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

       140.    Plaintiffs and the other Classes’ Members suffered and will continue to suffer

damages including, but not limited to: (i) the untimely and/or inadequate notification of the

Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity

theft; and, (vii) emotional distress. At the very least, Plaintiffs and the other Classes’ Members

are entitled to nominal damages.

                                    COUNT V
                       NEGLIGENT TRAINING AND SUPERVISION

       141.    The preceding factual statements and allegations are incorporated herein by

reference.




                                                 29

  Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 29 of 41 PageID #: 30
        142.   At all times relevant hereto, Defendant HCA owed and owes a duty to Plaintiffs

and the Classes to hire competent employees and agents, and to train and supervise them to ensure

they recognize the duties owed to their patients and their parents.

        143.   Defendant breached their duty to Plaintiffs and the members of the Classes by

allowing its employees and agents to give access to patient medical records to an unauthorized

user.

        144.   As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the member of the Classes confidential medical information,

Plaintiffs and the members of the Classes suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

        145.   Plaintiffs and the other Classes members suffered and will continue to suffer

damages including, but not limited to: (i) the untimely and/or inadequate notification of the

Breach; (ii) improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket

expenses incurred to mitigate the increased risk of identity theft and/or identity fraud pressed upon

them by the Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud

and/or the increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity

theft; and, (vii) emotional distress. At the very least, Plaintiffs and the other Classes’ Members are

entitled to nominal damages.

        146.   Defendant’s wrongful actions and/or inaction and the resulting Breach (as

described above) constituted (and continue to constitute) an invasion of Plaintiffs’ and the other

Classes’ Members’ privacy by publicly and wrongfully disclosing their private facts (i.e., their

PHI and PII) without their authorization or consent.



                                                 30

  Case 3:23-cv-00748         Document 1        Filed 07/25/23      Page 30 of 41 PageID #: 31
                                          COUNT VI
                                      NEGLIGENCE PER SE

          147.   Plaintiffs incorporates by reference and re-alleges all paragraphs previously alleged

herein.

          148.   Plaintiffs were under the medical care of the Defendant.

          149.   Defendant HCA are covered entities for purposes of HIPAA and HITECH.

          150.   Plaintiffs are members of the class HIPAA and HITECH were created to protect.

          151.   Plaintiffs’ private health information is the type of information HIPAA and

HITECH were created to protect. HIPAA and HITECH were created to protect against the

wrongful and unauthorized disclosure of an individual's health information.

          152.   The Defendant gave protected medical information to an unauthorized third-party

or unauthorized third-parties without the written consent or authorization of Plaintiff.

          153.   The Defendant gave protected medical information to unauthorized third-parties

without Plaintiffs’ oral consent or written authorization.

          154.   The information disclosed to an unauthorized third-party or unauthorized third-

parties included private health information about medical treatment.

          155.   Alternatively, Defendant violated HIPAA and HITECH in that it did not reasonably

safeguard the private health information of Plaintiffs from any intentional or unintentional use or

disclosure that is in violation of the standards, implementation specifications or other requirements

pursuant to HIPAA and HITECH including, but not limited to, 42 C.F.R. §§ 164.302-164.318, 45

C.F.R. § 164.500, et seq, and 42 U.S.C. §17902, and was therefore negligent per se.

          156.   As a direct result of Defendant’s negligence, Plaintiffs and the Classes suffered

damages and injuries, including, without limitation, loss of the benefit of their bargain, a reduction

                                                  31

  Case 3:23-cv-00748          Document 1        Filed 07/25/23     Page 31 of 41 PageID #: 32
in value of their private health information, loss of privacy, loss of medical expenses, loss of trust,

loss of confidentiality, embarrassment, humiliation, emotional distress, and loss of enjoyment of

life.

        157.   Plaintiffs and the other Classes suffered and will continue to suffer damages

including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

(vii) emotional distress. At the very least, Plaintiffs and the other Classes are entitled to nominal

damages.

        158.   As a direct result of Defendant’s negligence, Plaintiffs and the Classes have a

significantly increased risk of being future victims of identity theft relative to what would be the

case in the absence of the Defendant’s wrongful acts.

        159.   As a direct result of Defendant’s negligence, future monitoring, in the form of

identity-theft or related identity protection is necessary in order to properly warn Plaintiffs and the

Classes of, and/or protect Plaintiffs and the Classes from, being a victim of identity theft or other

identity-related crimes. Plaintiffs, individually and on behalf of the Classes, seek actual damages

for all monies paid to Defendant in violation of the HIPAA and HITECH. In addition, Plaintiffs

seeks attorneys’ fees.

                             COUNT VII
    VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT, MO. REV.
                         STAT. § 407.010 et seq.




                                                  32

  Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 32 of 41 PageID #: 33
         160.     The preceding factual statements and allegations are incorporated herein by

reference.

         161.     RSMo. 407.020 prohibits the use of any “deception, fraud, false pretense, false

promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any

material fact in connection with the sale or advertisement of any merchandise in trade or

commerce”…

         162.     An “unfair practice” is defined by Missouri law, 15 CSR 60-8.020, as any practice

which:

   (A) Either-

         1. Offends any public policy as it has been established by the Constitution, statutes or
         common law of this state, or by the Federal Trade Commission, or its interpretive
         decisions; or

         2. Is unethical, oppressive or unscrupulous; and

   (B) Presents a risk of, or causes, substantial injury to consumers.

                163.    An “unfair practice is defined by Missouri law,

15 CSR 60-8.020 (1)(B) provides that an “Unfair Practice in General” is

   (1) An unfair practice is any practice which –

         (A) Either –

             1. Offends any public policy as it has been established by the Constitution, statutes or

                  common law of this state, or by the Federal Trade Commission, or its interpretive

                  decisions; or

             2. Is unethical, oppressive or unscrupulous; and

         (B) Presents a risk of, or causes, substantial injury to consumers.

15 CSR 60-8.040 provides that an “Unfair Practice” is “[a]n unfair practice for any person in

connection with the advertisement or sale of merchandise to violate the duty of good faith in

                                                   33

  Case 3:23-cv-00748              Document 1     Filed 07/25/23     Page 33 of 41 PageID #: 34
solicitation, negotiation and performance, or in any manner fail to act in good faith.” (emphasis

added).

          164.   Plaintiffs and Defendant are “persons” within the meaning of section 407.010 (5).

          165.   Merchandise is defined by the MMPA, to include the providing of “services” and,

therefore, encompasses Healthcare services. Healthcare services are a good.

          166.   Efforts to maintain the privacy and confidentiality of medical records are part of

the healthcare services associated with a good.

          167.   Maintenance of medical records are “merchandise” within the meaning of section

407.010(4).

          168.   Plaintiffs’ and the Class Members’ goods and services purchased from Defendant

were for “personal, family or household purposes” within the meaning of the Missouri

Merchandising Practices Missouri Revised Statutes.

          169.   As set forth herein, Defendant’s acts, practices and conduct violate section

407.010(1) in that, among other things, Defendant has used and/or continues to use unfair

practices, concealment, suppression and/or omission of material facts in connection with the

advertising, marketing, and offering for sale of services associated with healthcare services. Such

acts offends the public policy established by Missouri statute and constitute an “unfair practice”

as that term is used in Missouri Revised Statute 407.020(1).

          170.   Defendant’s unfair, unlawful and deceptive acts, practices and conduct include: (1)

representing to its patients that it will not disclose their sensitive personal health information to an

unauthorized third party or parties; (2) failing to implement security measures such as securing the

records in a safe place; and (3) failing to train personnel.




                                                  34

  Case 3:23-cv-00748          Document 1        Filed 07/25/23      Page 34 of 41 PageID #: 35
       171.    Defendant’s conduct also violates the enabling regulations for the MMPA because

it: (1) offends public policy; (2) is unethical, oppressive and unscrupulous; (3) causes substantial

injury to consumers; (4) it is not in good faith; (5) is unconscionable; and (6) is unlawful. See Mo

Code Regs. Ann tit. 15, Section 60-8.

       172.    As a direct and proximate cause of Defendant’s unfair and deceptive acts, Plaintiffs

and members of the Class have suffered damages in that they (1) paid more for medical record

privacy protections than they otherwise would have, and (2) paid for medical record privacy

protections that they did not receive. In this respect, Plaintiffs and members of the Class have not

received the benefit of the bargain and have suffered an ascertainable loss.

       173.    As a direct result of Defendant’s breach of its duty of confidentiality and privacy

and the disclosure of Plaintiffs’ and the member of the Class confidential medical information,

Plaintiffs and the members of the Class suffered damages, including, without limitation, loss of

the benefit of the bargain, exposure to heightened future risk of identity theft, loss of privacy,

confidentiality, embarrassment, emotional distress, humiliation and loss of enjoyment of life.

       174.    Plaintiffs and the other Class Members suffered and will continue to suffer damages

including, but not limited to: (i) the untimely and/or inadequate notification of the Breach; (ii)

improper disclosure of their PHI and PII; (iii) loss of privacy; (iv) out-of-pocket expenses incurred

to mitigate the increased risk of identity theft and/or identity fraud pressed upon them by the

Breach; (v) the value of their time spent mitigating identity theft and/or identity fraud and/or the

increased risk of identity theft and/or identity fraud; (vi) the increased risk of identity theft; and,

(vii) emotional distress. At the very least, Plaintiffs and the other Class Members are entitled to

nominal damages.




                                                  35

  Case 3:23-cv-00748         Document 1        Filed 07/25/23       Page 35 of 41 PageID #: 36
       175.    Plaintiffs, on behalf of themselves and the Class, seek actual damages for all monies

paid to Defendant in violation of the MMPA. In addition, Plaintiffs seeks attorneys’ fees.

                             COUNT VIII
  VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
              ACT (“FDUTPA”), FLA. STAT. § 501.201 ET SEQ.


       176.    Plaintiffs individually and on behalf of the Nationwide class, repeats and alleges

the foregoing paragraphs, as if fully alleged herein.

       177.    FDUTPA prohibits “unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.” Fla.

Stat.§ 501.204.

       178.    Defendant engaged in the conduct alleged in this Complaint through transactions

in and involving trade and commerce. Mainly, the Breach occurred through the use of the internet,

an instrumentality of interstate commerce.

       179.    While engaged in trade or commerce, Defendant violated FDUTPA, including,

among other things, by:

                       a.      Failing to implement and maintain appropriate and

               reasonable security procedures and practices to safeguard and protect the

               Private Information of Defendant’s client patients from unauthorized access

               and disclosure;

                       b.      Failing to disclose that its computer systems and data

               security practices were inadequate to safeguard and protect the Private

               Information of Defendant’s client patients from being compromised, stolen,

               lost, or misused; and




                                                 36

  Case 3:23-cv-00748         Document 1       Filed 07/25/23     Page 36 of 41 PageID #: 37
                        c.      Failing to disclose the Breach to Defendant’s client patients

                in a timely and accurate manner in violation of Fla. Stat. § 501.171.


        180.    Defendant knew or should have known that their computer systems and data

security practices were inadequate to safeguard Class Members’ Private Information entrusted to

it, and that risk of a data breach or theft was highly likely.

        181.    Defendant should have disclosed this information because they were in a superior

position to know the true facts related to the defective data security.

        182.    Defendant’s failures constitute false and misleading representations, which have

the capacity, tendency, and effect of deceiving or misleading consumers (including Plaintiffs and

Class Members) regarding the security of Defendant’s network and aggregation of Private

Information.

        183.    The representations upon which impacted individuals (including Plaintiffs and

Class Members) relied were material representations (e.g., as to Defendant’s adequate protection

of Private Information), and consumers (including Plaintiffs and Class Members) relied on those

representations to their detriment.

        184.    Defendant’s actions constitute unconscionable, deceptive, or unfair acts or

practices because, as alleged herein, Defendant engaged in immoral, unethical, oppressive, and

unscrupulous activities that are and were substantially injurious to Defendant’s client patients.

        185.    In committing the acts alleged above, Defendant engaged in unconscionable,

deceptive, and unfair acts and practices acts by omitting, failing to disclose, or inadequately

disclosing to Defendant’s client patients that it did not follow industry best practices for the

collection, use, and storage of Private Information.

        186.    As a direct and proximate result of Defendant’s unconscionable, unfair, and


                                                  37

  Case 3:23-cv-00748          Document 1        Filed 07/25/23     Page 37 of 41 PageID #: 38
deceptive acts and omissions, Plaintiffs’ and Class Members’ Private Information was disclosed

to third parties without authorization, causing and will continue to cause Plaintiffs and Class

Members damages. Accordingly, Plaintiffs and Class Members are entitled to recover an order

providing declaratory and injunctive relief and reasonable attorneys’ fees and costs, to the extent

permitted by law.

       187.    Also as a direct result of Defendant’s knowing violation of the Florida Unfair and

Deceptive Trade Practices Act, Plaintiffs and Class Members are entitled to injunctive relief,

including, but not limited to:

                         a)      Ordering    that        Defendant   engage   third-party   security

                 auditors/penetration testers as well as internal security personnel to conduct

                 testing, including simulated attacks, penetration tests, and audits on Defendant’s

                 systems on a periodic basis, and ordering Defendant to promptly correct any

                 problems or issues detected by such third-party security auditors;

                         b)      Ordering that Defendant engage third-party security auditors and

                 internal personnel to run automated security monitoring;

                         c)      Ordering that Defendant audit, test, and train their security

                 personnel regarding any new or modified procedures;

                         d)      Ordering that Defendant segment Private Information by, among

                 other things, creating firewalls and access controls so that if one area of

                 Defendant’s systems is compromised, hackers cannot gain access to other

                 portions of Defendant’s systems;

                         e)      Ordering that Defendant purge, delete, and destroy in a reasonably

                 secure manner Private Information not necessary for their provisions of services;



                                                    38

  Case 3:23-cv-00748          Document 1       Filed 07/25/23        Page 38 of 41 PageID #: 39
                        f)    Ordering that Defendant conduct regular database scanning and

                securing checks;

                        g)    Ordering that Defendant routinely and continually conduct internal

                training and education to inform internal security personnel how to identify and

                contain a breach when it occurs and what to do in response to a breach;

                        h)    Ordering Defendant to meaningfully educate their current and

                former patients about the threats they face as a result of the loss of their Private

                Information to third parties, as well as the steps Defendant’s current and former

                patients must take to protect themselves; and

                        i)    Requiring Defendant to thoroughly and regularly evaluate any

                vendor’s or third-party’s technology that allows or could allow access to Private

                Information and to promptly migrate to superior or more secure alternatives.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the other members of the Classes

proposed in this Complaint, respectfully request that the Court enter judgment in their favor and

against Defendant, as follows:

       A.     Declaring that this action is a proper class action, certifying the Classes as requested
              herein, designating Plaintiffs as Class Representative and appointing Plaintiffs’
              counsel as Lead Counsel for the Classes;

       B.     Declaring that Defendant breached their implied contract with Plaintiffs and
              Classes;

       C.     Declaring that Defendant negligently disclosed Plaintiffs’ and the Classes’
              Members’ PHI and PII;

       D.     Declaring that Defendant has invaded Plaintiffs’ and Classes’ Members’ privacy;

       E.     Declaring that Defendant breached their fiduciary duty to Plaintiffs and the Classes;



                                                39

  Case 3:23-cv-00748         Document 1       Filed 07/25/23      Page 39 of 41 PageID #: 40
        F.      Declaring that Defendant breached their implied contract with Plaintiffs and the
                Classes;

        G.      Declaring that Defendant HCA was negligent by negligently training and
                supervising its employees and agents;


        H.      Declaring that Defendant HCA violated the Missouri Merchandising Practices Act
                (MMPA);


        I.      Declaring that Defendant HCA violated the Florida Deceptive and Unfair Trade
                Practices Act;

        J.      Ordering Defendant to pay actual damages to Plaintiffs and the Classes;

        K.      Ordering Defendant to properly disseminate individualized notice of the Breach to
                all Classes;

        L.      For an Order enjoining Defendant from continuing to engage in the unlawful
                business practices alleged herein;

        M.      Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiffs and the
                Classes;

        N.      Ordering Defendant to pay both pre- and post-judgment interest on any amounts
                awarded; and

        O.      Ordering such other and further relief as may be just and proper.

                                          JURY DEMAND

        Plaintiffs, on behalf of themselves and the other Class Members, respectfully demand a

trial by jury on all of their claims and causes of action so triable.


                                                Respectfully submitted,




                                                ________________________________
                                                Maureen M. Brady MO #57800
                                                Lucy McShane      MO #57957
                                                MCSHANE & BRADY, LLC

                                                  40

  Case 3:23-cv-00748          Document 1        Filed 07/25/23          Page 40 of 41 PageID #: 41
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                                    41

Case 3:23-cv-00748   Document 1   Filed 07/25/23   Page 41 of 41 PageID #: 42
